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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

JOSEPH WOLSKI and
CHRISTINA WOLSKI,

Plaintiffs,

Vv. CIVIL ACTION

NO. 18-12631-WGY
GARDNER POLICE DEPARTMENT,
MASSACHUSETTS STATE POLICE
DEPARTMENT, ERIC MCAVENE,
DANIAL WILDGRUBE,
MICHAEL TRAVERS,
MATTHEW PRESCOTT,

Defendants.

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YOUNG, D.J. October 30, 2019
MEMORANDUM & ORDER

I. INTRODUCTION

Joseph and Christina Wolski (collectively, “the Wolskis”)
filed a complaint in this Court against individual officers of
the Gardner City Police Department (the “Gardner Police”) and
the Massachusetts State Police Department (the “State Police”),
as well as against the agencies themselves. See Verified Compl.
Jury Demand (“Original Compl.”), ECF No. 1.; First Am. Verified
Compl. Jury Demand (“Am. Compl.”), ECF No. 30. The Wolskis
alleged that the State Police are liable under section 2 of the
Massachusetts Tort Claims Act (chapter 258 of the Massachusetts

General Laws) for “failfing] to adequately [train or] supervise
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their respective employees” who then committed intentional torts
against the Wolskis (count III). Id. 497 43-44, 48-49. The
State Police also construe the Wolskis’ amended complaint as
alleging an intentional infliction of emotional distress claim
against them (count V). See Mem. Law Supp. Def. Mass. State
Police Dep’t Mot. Dismiss Pls.’ First Am. Verified Compl. (“Mem.
Dismiss”) 3 n.1, ECF No. 32.

The State Police seek dismissal under Federal Rule of Civil
Procedure 12(b) (1) and 12(b) (6) of all claims against them,
arguing that they enjoy sovereign immunity and, moreover, that
the Wolskis have failed to state actionable claims. See id. at
1-2. For the following reasons, the Court GRANTS the State
Police’s motion to dismiss for lack of subject matter
jurisdiction, ECF No. 31. Accordingly, the Court does not reach
the State Police’s arguments about whether the Wolski’s amended
complaint states an actionable claim.

A. Factual Allegations

The plaintiff, Joseph Wolski (“Officer Wolski”), was at all
relevant times “a police officer employed by the . . . [Gardner
Police].” Am. Compl. @ 9. On August 3, 2016, while “on duty and
on patrol,” Officer Wolski received a call from his co-worker,

the defendant Eric McAvene (“Lieutenant McAvene”),! telling him

 

1 Lieutenant McAvene was at all relevant times an employee
of Gardner Police. Am. Compl. 7 4.

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“to return to the [Gardner Police] station for an urgent
meeting.” Id. — 10. When he arrived at the station, the
Lieutenant McAvene and defendants Daniel Wildgrube (“Trooper
Wildgrube”), Michael Travers (“Trooper Travers”), and Matthew
Prescott (“Trooper Prescott”) (collectively, the “Trooper
Defendants”) met Officer Wolski.* Id. 7 13. They “escorted
Officer Wolski . . . into a windowless back room typically used
for briefing officers prior to conducting raids (the ‘briefing
room’).” Id. 9 14. Lieutenant McAvene represented to Officer
Wolski that defense counsel for a suspect in a homicide
investigation on which Officer Wolski worked had subpoenaed the
Gardner Police for all “investigation-related communications.”
Id. @@ 11-12, 16 (emphasis deleted). Though the individually
named officer defendants never showed Officer Wolski the
subpoena, id. 9 17, Lieutenant McAvene said that the subpoena
requested the cellphone records of the officers involved in the
investigation, including Officer Wolski’s, id. @71 11-12, 16.
The Wolskis allege, “[u]pon information and belief, [that] the
subpoena does not exist and never did.” Id. q 18.

Under the pretext of the subpoena, “({Lieutenant] McAvene

ordered [Officer] Wolski to turn over his personal,

private cellular phone to [the Trooper Defendants], and permit

 

2 The Trooper Defendants were at all relevant times
employees of the State Police. Am. Compl. Wf 5-8.

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the troopers to perform a ‘data dump’. . . for the purpose of
collecting investigation-related communications from [his]

cell phone.” Id. { 19 (emphasis deleted). Officer Wolski
initially objected to the order because he maintained that his
personal phone did not contain work-related communications. Id.
fq§ 20. Lieutenant McAvene repeated the order. Id. QI 21.

Due to the defendant officers’ representation that the

[Gardner Police] officers involved in the aforementioned

murder investigation were all under lawful subpoena,

Officer Wolski reluctantly surrendered his personal

cellphone to the defendant officers on the express

condition that under no circumstances was [Officer]

Wolski’s personal and private media contained on the

cell phone to be viewed, downloaded, copied, duplicated,

transmitted or otherwise misappropriated or
disseminated, and was to remain undisturbed and
absolutely private.

Id. F 22 (emphasis deleted).

Assuring Officer Wolski that they “were not collecting any
of his personal private data,” id. 97 23, “the defendant officers
took [his] cell phone into an adjacent room and shut the door,”
id. 7@ 24. They re-emerged “[a]fter approximately 30-40 minutes

and demanded that Officer Wolski disclose to them his
personal and private ‘Apple I.D. and password.’” Id. @ 25.
Officer Wolski initially objected, but eventually provided the
defendant officers his Apple I.D. and password after they
reassured him that they were only looking for investigation-

related communications. Id. 9 28. Within a few weeks of this

encounter, the Wolskis “discovered (through multiple independent

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and credible sources) that their personal private media had been
converted by the defendants and widely disseminated throughout
the ranks of the Gardner Police Department and the [State
Police].”3 Id. §@ 30. The private media obtained from Officer
Wolski’s cell phone included video and still images of Officer
Wolski and Mrs. Wolski “while being intimate.” Id. 9 22 n.5.

B. Procedural History

On December 21, 2018, the Wolskis filed a complaint in this
Court against individual the Gardner Police and State Police
officers, as well as against the agencies themselves. Original
Compl. On April 18, 2019, the State Police moved to dismiss the
claims against it under Federal Rules of Civil Procedure
12(b) (1) and 12(b) (6). Def. Mass. State Police Dep’t Mot.
Dismiss (“Original Mot. Dismiss”), ECF No. 19.

With the permission of the Court, the Wolskis filed an
amended complaint on May 9, 2019, see Pls.’ Mot. Leave Am.
Compl. (“Motion to Amend”), ECF No. 13; Electronic Order, ECF
No. 29; Am. Compl., which mooted the State Police’s original
motion to dismiss, Electronic Order, ECF No. 35. In their
amended complaint the Wolskis advance the same claims as they

did in their original complaint. See Motion to Amend

 

3 The Wolskis allege that the private content on Officer
Wolski’s phone “was stored in a locked application requiring an
additional and separate password” which “Officer Wolski never
provided.” Am. Compl. 9 22 n.6.

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(“Plaintiffs do not seek to change the substance of the original
Complaint nor do they seek to add, subtract, or amend the five
(5) causes of action asserted in the original Complaint.”).

They allege claims against the individually named officers under
Massachusetts law and under sections 1983 and 1985 of the Civil
Rights Act (found in title 42 of the United States Code). Am.
Compl. (WW 31-41, 56-59. They bring claims under Massachusetts
law for negligent training and supervision (count III) and
intentional infliction of emotional distress (count V) against
the State Police.4 Id. 4G 42-49, 56-59. The State Police
renewed its motion to dismiss on May 10, 2019. See Def. Mass.
State Police Dep’t Mot. Dismiss Pls.’ First Am. Verified Compl.,
ECF No. 31; Mem. Law Supp. Def.’s Mot. Dismiss Pls.’ First Am.
Verified Compl. (“Renewed Dismiss Mem.”), ECF No. 32.

The Wolskis did not submit an opposition to the renewed
motion to dismiss before the motion session on July 30, 2019.
During that hearing, the Wolskis’ counsel requested a
continuance, Emergency Mot. Continue Hr’g Def. Mass. State
Police Dep’t Mot. Dismiss, ECF No. 51; Electronic Clerk's Notes,
ECF No. 50, and the Court allowed the Wolskis to file a written

opposition within 30 days. Id. The Wolskis’ lawyer filed an

 

4 The Wolskis do not specifically name the State Police in
count V, see Am. Compl. IW 56-59, but the State Police construes
the Wolskis’ Amended Complaint as including them in that claim.
See Mem. Dismiss 3 n.1; Am. Compl. @1 58.

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opposition to the renewed motion to dismiss with an accompanying
memorandum on August 13, 2019. Pls.’ Mot. Opp. Def. Mass. State
Police Dep’t Mot. Dismiss, ECF. No. 47; Mem. Supp. Pls.’ Opp.
Def. Mass. State Police Dep’t Mot. Dismiss (“Renewed Opp’n
Mem.”), ECF No. 48.

This Court advised the parties at the hearing and in its
electronic order that it would rule on the papers. Electronic
Clerk’s Notes, ECF No. 50.

II. ANALYSIS

After careful consideration, the Court GRANTS the State
Police’s motion to dismiss under Federal Rule of Civil Procedure
12(b) (1) because the Commonwealth and its agencies enjoy
sovereign immunity. Consequently, the Court lacks subject
matter jurisdiction over the claims against the State Police.

It thus has no occasion to opine on whether those claims would
otherwise entitle the Wolskis to relief.

A. Standard of Review

Jurisdictional questions are threshold issues which courts

ought address first. See Ross v. Deutsche Bank Nat’l1 Tr. Co.,

 

 

933 F. Supp. 2d 225, 229 (D. Mass. 2013) (“When presented with a
motion to dismiss a claim under both Federal Rules of Civil
Procedure 12(b) (1) and 12(b) (6), ‘a district court .. . should
ordinarily decide the 12(b)(1) motion first.’” (quoting

Northeast Erectors Ass'n of BTEA v. Secretary of Labor,

 

 

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Occupational Safety & Health Admin., 62 F.3d 37, 39 (1st Cir.
1995))). The party invoking federal jurisdiction, here the
plaintiffs, bears the burden of proving® that the court from
which they seek redress has jurisdiction over their claims. See
Johansen v. United States, 506 F.3d 65, 68 (lst Cir. 2007)
(citing Murphy v. United States, 45 F.3d 520, 522 (1st Cir.

1995)); see also Heinrich v. Sweet, 44 F. Supp. 2d 408, 412 (D.

 

Mass. 1999) (citing Viqueira v. First Bank, 140 F.3d 12, 16 (1st
Cir. 1998)). For both the 12(b) (1) and 12(b) (6) motions to
dismiss, the Court must “take as true all well-pleaded facts in
the plaintiffs’ complaint . . . and draw all reasonable
inferences therefrom in [their] favor.” Fothergill v. United
States, 566 F.3d 248, 251 (lst Cir. 2009) (citing Muniz-Rivera
v. United States, 326 F.3d 8, 11 {lst Cir. 2003)); see also
Gordo-Gonzdlez v. United States, 873 F.3d 32, 35 (lst Cir.

2017) (citing Labor Relations Div. of Constr. Indus. of Mass.,

 

Inc. v. Healey, 844 F.3d 318, 326-27 (lst Cir. 2016)).

 

5 If the existence of federal subject matter jurisdiction
involves a factual dispute, the proponent of federal
jurisdiction must prove subject matter jurisdiction by a
preponderance of the evidence. See Bank One, Tex., N.A. Vv.
Montle, 964 F.2d 48, 50 (1st Cir. 1992). The parties here do
not dispute the facts relevant to jurisdiction.

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B. The Court Lacks Jurisdiction over the Tort Claims
Against the State Police

The State Police argues that the two state-law tort claims
against it (counts III and V) should be dismissed because the
agency enjoys sovereign immunity from suit in federal court.
Renewed Dismiss Mem. 3-4. The Wolskis’ argument against
12(b) (1) dismissal is difficult to discern. First, though they
do not say so specifically, by bringing the claims under section
2 of the Massachusetts Tort Claims Act, they implicitly argue
that the statute waives the State Police’s immunity. See Am.
Compl. (71 42-49. Additionally, the Wolskis argue: (i) that
Congress abrogated the Commonwealth’s immunity when it enacted
section 1983 of the Civil Rights Act and, (ii) that the
prospective-compliance exception to sovereign immunity applies
in this case. Renewed Opp’n Mem. 3. The Court dismisses all
the claims against the State Police because, as an agency of the
Commonwealth, sovereign immunity shields it, Santiago v. Keyes,
839 F. Supp. 2d 421, 427-28 (D. Mass. 2012) (Neiman, M.J.), and
the Commonwealth has not waived such immunity, Caisse v. DuBois,
346 F.3d 213, 218 (lst Cir. 2003), nor has Congress abrogated
it, Santiago, 839 F. Supp. 2d at 427 (citing Quern v. Jordan,
440 U.S. 332, 341-42 (1979)).

“[F]ederal courts are courts of limited subject matter

jurisdiction... .” Gonzalez-Cancel v. Partido Nuevo

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Progresista, 696 F.3d 115, 119 (1st Cir. 2012) (citing Bonas v.

Town of N. Smithfield, 265 F.3d 69, 73 (lst Cir. 2001)). One
such limitation on the jurisdiction of federal courts is
sovereign immunity. See U.S. Const. amend. XI (“The Judicial
power of the United States shall not be construed to extend to
any suit in law or equity, commenced or prosecuted against one
of the United States by Citizens of another State, or by
Citizens or Subjects of any Foreign State.”). The Eleventh
Amendment evinces a recognition that “a State’s .. . interest
in immunity encompasses not merely whether it may be sued, but

where it may be sued.” Pennhurst State Sch. & Hosp. v.

 

Halderman, 465 U.S. 89, 99 (1984). The principle of sovereign
immunity is fundamental to our system of federalism and “derives
not from the Eleventh Amendment but from the structure of the
original Constitution itself.” Alden v. Maine 527 U.S. 706, 728
(1999).

Accordingly, states and their agencies generally are immune
from suit by an individual in federal court. See U.S. Const.

amend. XI; Hans v. Louisiana, 134 U.S. 1, 10, 13 (1890)

 

(interpreting the Eleventh Amendment to bar a citizen of a state
from suing the state in federal court, absent that state’s
consent); Pennhurst, 465 U.S. at 106 (holding that federal
courts may not order state officials to comport with state law);

Lebrén v. Puerto Rico, 770 F.3d 25, 32 (lst Cir. 2014) (“[A]

 

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Suit in which the State or one of its agencies or departments is
named as the defendant is proscribed by the Eleventh
Amendment.”) (citation omitted).

Sovereign immunity, however, is a “personal privilege” that

a state “may waive at pleasure.” Arecibo Cmty. Health Care,

 

inc. v. Puerto Rico, 270 F.3d 17, 24 (lst Cir. 2001) (citing
Clark v. Barnard, 108 U.S. 436, 447 (1883)). Congress may also
abrogate the privilege if acting pursuant to its enforcement
powers under section 5 of the Fourteenth Amendment. Fitzpatrick
v. Bitzer, 427 U.S. 445, 456 (1976). The Wolskis can establish
the Court’s subject matter jurisdiction over their claims
against the State Police only if they can show either that the
Commonwealth has waived sovereign immunity or that Congress has
abrogated it. See Pennhurst, 465 U.S. at 99. The Wolskis are
unable to establish either;® consequently, the Court does not

have jurisdiction to hear their claims against the State Police.

 

6The Wolskis do not put forth any grounds for the Court’s
jurisdiction over their state-law claims, see Am. Compl. @ 1.
They simply note that the Court has “Federal Question
Jurisdiction over claimed violations of 42 U.S.C. § 1983 and 42
U.S.C. § 1985.” Id. The Wolskis presumably believe that the
Court has supplemental jurisdiction over the claims against the
State Police because they arise from the same nucleus of
operative facts underlying the section 1983 claims against the
individually named officers. See 28 U.S.C. 1367(a); United Mine
Workers of Am. v. Gibbs, 383 U.S. 715, 725 (1966). They do not,
however, explicitly make this argument for supplemental
jurisdiction. See Am. Compl. 7 1. Nevertheless, the
supplemental jurisdiction statute’s “grant of jurisdiction does
not extend to claims against nonconsenting state defendants.”

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1. The Commonwealth has not Waived its Sovereign
Immunity

Though the Wolskis do not explicitly argue that the
Massachusetts Tort Claims Act waives the State Police’s immunity
to their claims, see Renewed Opp’n Mem., that argument is
implicit in the fact that they bring their claims under section
2 of that statute, see Am. Compl. 91 42-49. Their argument
fails. States may indeed waive their immunity to suit in
federal court, but courts apply a stringent test in determining
whether there has been a waiver: the state must have specified
“{its] intention to subject itself to suit in federal court.”

Atascadero State Hosp. v. Scanlon, 473 U.S. 234, 241 (1985); see

 

also Edelman v. Jordan, 415 U.S. 651, 673 (1974) (“(WJe will

 

find waiver only where stated ‘by the most express language or
by such overwhelming implications from the text as [will] leave
no room for any other reasonable construction’.” (alteration in

original) (quoting Murray v. Wilson Distilling Co., 213 U.S.

 

 

151, 171 (1909))).
The Massachusetts Tort Claims Act -- under which the

Wolskis bring the relevant claims -- does provide a limited

 

Raygor v. Regents of Univ. of Minnesota, 534 U.S. 533, 542
(2002). Therefore, even were this Court to rule that the
Commonwealth had waived sovereign immunity or that Congress had
abrogated it with respect to the Wolskis’ section 1983 claim,
the Wolskis would still have to show some exception to sovereign
immunity to pursue their state law claims in this Court.

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waiver of the Commonwealth's sovereign immunity. See Mass. Gen.
Laws ch. 258, § 2. That waiver, however, does not apply to
suits brought under the statute in federal court. See Mass.
Gen. Laws ch. 258, § 3. The Supreme Judicial Court has held
definitively that the Massachusetts Tort Claims Act grants
exclusive jurisdiction over claims brought under the statute to

the Commonwealth’s Superior Courts. See Irwin v. Commissioner

 

of Dep’t Youth Servs., 388 Mass. 810, 810, 818-20 (1983) (citing

 

McArthur Bros. v. Commonwealth, 197 Mass. 137, 139 (1908)).
Accordingly, the First Circuit and this Court have consistently
held that claims brought under the Massachusetts Tort Claims Act

in federal court ought be dismissed. See, e.g., Caisse, 346

 

F.3d at 218 (holding Eleventh Amendment bars negligence claims
against officers in their official capacity because “the
Commonwealth has not waived its .. . immunity to suit in
federal court”); Rivera v. Massachusetts, 16 F. Supp. 2d 84, 87-
88 (D. Mass. 1998) (Woodlock, J.) (“[T]he Commonwealth has not

waived its immunity from suit in federal court as to tort claims

and therefore this Court lacks jurisdiction -- either original
or supplemental -- over [the plaintiff's] claim against the
Commonwealth.”). Since the Massachusetts Tort Claims Act grants

exclusive jurisdiction over claims brought under the statute to

the Commonwealth’s Superior Courts, it is impossible for the

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Wolskis to establish the Commonwealth’s waiver of sovereign

immunity as to their claims.

2. Congress has not Abrogated the Commonwealth’s
Immunity

The Wolskis’ remaining arguments regarding the
Commonwealth’s sovereign immunity are: (i) that Congress has
abrogated state sovereign immunity by enacting section 1983 of
the Civil Rights Act of 1871, see Renewed Opp’n Mem. 2-3, and
(ii) that the “Prospective-Compliance Exception” to sovereign
immunity permits federal courts to order state officials to
conform their conduct to federal law, see id. at 3 (citing

Milliken v. Bradley, 433 U.S. 267, 289 (1997) quoting Ex parte

 

Young, 209 U.S. 123, 159-60 (1908)). These arguments, however,
conflate the different claims brought in this suit and confuse
the legal issue.

First, the Wolskis bring their claims against the State
Police under Massachusetts law and not under the federal civil
rights statute. See Am. Compl. 97 42-49, 55-59. Thus, section
1983 and the issue of abrogation are irrelevant here. Even
assuming the Wolskis did allege claims against the State Police
under section 1983, the State Police correctly note that
sovereign immunity still bars jurisdiction over their claims
because states and their agencies are not “persons” for the

purpose of section 1983. See Renewed Reply (citing Will v.

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Michigan Dep’t of State Police, 491 U.S. 58, 64-67, 71 (1989));
see also Santiago, 839 F. Supp. 2d at 427 (“The Supreme Court
has made it clear that section 1983 does not abrogate a state’s
Eleventh Amendment immunity.” (citing Quern, 440 U.S. at 341-
42)).

Second, the prospective-compliance exception to sovereign
immunity is not applicable here. Though federal courts may
issue prospective injunctive relief to compel state officials to
conform their conduct to federal law, Ex parte Young, 209 U.S.
at 149-53; Milliken, 433 U.S. at 289, they may not compel state
officials to conform their conduct to state law, Pennhurst, 465
U.S. at 101-02, 106 (“[I]t is difficult to think of a greater
intrusion on state sovereignty than when a federal court
instructs state officials on how to conform their conduct to
state law.”). Even could this Court somehow provide prospective
injunctive relief, it could not award the retroactive monetary
damages the Wolskis seek. See id. at 102-03 (citing Edelman,
415 U.S..at 666-67) (“[W]hen a plaintiff sues a state official
alleging a violation of federal law, the federal court may award
an injunction that governs the official’s future conduct, but
not one that awards retroactive monetary relief.”). Since the
State Police, as an agency of the Commonwealth, enjoys sovereign

immunity which has not been abrogated, the Wolskis cannot carry

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their burden of establishing this Court’s subject matter
jurisdiction.

Accordingly, all their claims against the State Police are
dismissed pursuant to Federal Rule of Civil Procedure 12(b) (1).
III. CONCLUSION

The Court GRANTS the State Police’s motion to dismiss, ECF
No. 31. The Eleventh Amendment bars all the claims against the
State Police. Congress has not abrogated the Commonwealth’s
immunity, nor did the State Police waive it. Therefore, this
Court lacks subject matter jurisdiction to hear any of these
claims against the State Police.

SO ORDERED.

Mo

WILLIAM G.
DISTRICT JUDGE

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